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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
              v.                                  :
                                                  :       CASE NO. 1:21-mj-00093-ZMF-1
LEO CHRISTOPHER KELLY                             :
                                                  :
                     Defendant.                   :

                      NOTICE OF SUBSTITUTION OF COUNSEL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is now assigned to

Assistant United States Attorney Michael G. James. AUSA Michael G. James will be substituting

for AUSA Kenya Khalelah Davis.


                                                  Respectfully submitted,

                                                  MATTHEW M. GRAVES
                                                  United States Attorney
                                                  DC Bar No. 481052


                                                  By: /s/ Michael G. James
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